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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

ASSUREDPARTNERS OF                         )
MISSOURI, LLC,                             )
                                           )
            Plaintiff,                     )
                                           )
      vs.                                  )          Case No. 4:24 CV 1170 CDP
                                           )
CRAIG BAUER, et al.,                       )
                                           )
            Defendants.                    )

                           MEMORANDUM AND ORDER

      As discussed with the parties on today’s telephone conference,

      IT IS HEREBY ORDERED that by no later than May 2, 2025, the parties

must meet and confer to discuss any disputes regarding discovery already produced

and/or outstanding discovery requests in a good faith attempt to resolve these

disputes without further intervention by the Court. The parties must continue to

meet and confer in a good faith effort to resolve these disputes prior to May

13, 2025.

      IT IS FURTHER ORDERED that on or before May 13, 2025, the parties

shall file a joint memorandum informing the Court if they were able to resolve

their discovery disputes. If no discovery disputes remain, the parties shall so

indicate and provide the Court with a joint proposed amended scheduling plan

which sets out amended deadlines for the completion of this case. If the parties are
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still unable to reach agreement about outstanding discovery disputes, they shall so

indicate. In such a case, the parties shall file motions to compel regarding these

discovery disputes no later than May 16, 2025. Responsive briefs must be filed no

later than May 27, 2025. No reply briefs will be permitted as these motions will

be set for a prompt hearing.




                                            CATHERINE D. PERRY
                                            UNITED STATES DISTRICT JUDGE

Dated this 29th day of April, 2025.




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